Case 8:18-cv-00813-CJC-KES Document 256 Filed 09/07/21 Page 1 of 9 Page ID #:12332




                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES – GENERAL

    Case No. 8:18-cv-00813 CJC (KES)                                          Date: September 7, 2021

   Title: SECURITIES AND EXCHANGE COMMISSION v. PREMIER HOLDING CORP. and
          RANDALL LETCAVAGE

   PRESENT:

                  THE HONORABLE KAREN E. SCOTT, U.S. MAGISTRATE JUDGE

                       Jazmin Dorado                                      Not Present
                      Courtroom Clerk                                     Court Reporter

           ATTORNEYS PRESENT FOR                                 ATTORNEYS PRESENT FOR
                 PLAINTIFF:                                           DEFENDANT:
                None Present                                           None Present



           PROCEEDINGS (IN CHAMBERS):                       Order GRANTING Plaintiff’s Motion to
                                                            Compel (Dkt. 247)

   I.      Background.

          On January 20, 2021, the Court entered judgment against Premier Holding Corp.
   and Randall Letcavage (collectively, “Defendants”) and ordered them inter alia to pay
   $6,880,111, jointly and severally, together with prejudgment interest of $1,811,389.41, to
   the Securities and Exchange Commission (“Plaintiff” or “Commission”). (Dkt. 220,
   221.) The Court also ordered Premier and Letcavage to each pay a $1 million civil
   penalty.1 (Dkt. 220, 221.) The case arose out of a fraudulent scheme by microcap issuer
   Premier, at the direction of Premier’s former CEO Letcavage,2 to mislead investors about
   Premier’s success and prospects, hide Premier’s losses, inflate its assets, and artificially
   prop up its stock prices. (Dkt. 1 [“Complaint”] ¶¶ 1–3.)

          On February 24, 2021, after Defendants failed to pay any of the amount owed, the
   Commission served Post-Judgment Document Requests on each Defendant. (Dkt. 247-3
   [“Ellenbogen Decl.”] ¶ 11 & Exs. 1–2 [“Requests”].) Defendants responded to the
           1
           On April 4, 2021, the Court entered an Order dismissing Plaintiff’s claim as to Defendant
   Joseph Greenblatt, who died in January 2021. (Dkt. 240.)
           2
               Premier’s current CEO is Scott Dinsmoor. (Dkt. 247-2 at 17.)
Case 8:18-cv-00813-CJC-KES Document 256 Filed 09/07/21 Page 2 of 9 Page ID #:12333
                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES – GENERAL

    Case No. 8:18-cv-00813 CJC (KES)                                               Date: September 7, 2021
                                                                                                    Page 2

   Requests on March 12, 2021, generally objecting to each Request and producing no
   documents. (Ellenbogen Decl. ¶ 18 & Exs. 9–10.)

          After multiple conversations among the parties failed to resolve any of their
   disputes, the Commission filed its Motion to Compel Production of Documents and for
   an Accounting on July 15, 2021. (Dkt. 247.) The Commission seeks an order requiring
   Defendants to produce all documents responsive to the Requests and to submit a detailed
   accounting.3 (Dkt. 247-2 at 14.) On August 5, 2021, Letcavage filed his opposition.
   (Dkt. 249.) Premier did not file any opposition.4 On August 12, 2021, Plaintiff filed its
   Reply. (Dkt. 250.) A telephonic hearing was held on August 26, 2021. (Dkt. 251.) For
   the reasons discussed below, the Motion is GRANTED.

   II.    Rules Governing Post Judgment Discovery.

           Rule 69 of the Federal Rules of Civil Procedure provides that “[i]n aid of the
   judgment or execution, the judgment creditor … may obtain discovery from any
   person—including the judgment debtor—as provided in these rules or by the procedure
   of the state where the court is located.” Fed. R. Civ. P. 69(a)(2). “The purpose of the
   postjudgment proceedings is to discover assets that might be available to satisfy the
   judgment, and, following discovery, to execute on those assets.” JPMorgan Chase Bank,
   N.A. v. Asia Pulp & Paper Co., 707 F.3d 853, 868 (7th Cir. 2013); see Ryan Inv. Corp. v.
   Pedregal de Cabo San Lucas, No. C 06-3219, 2009 U.S. Dist. LEXIS 118337, at *3, 2009
   WL 5114077, at *1 (N.D. Cal. Dec. 18, 2009) (post-judgment discovery may be used “to
   identify assets that can be used to satisfy a judgment” and “to discover concealed or
   fraudulently transferred assets”) (citations omitted). The Supreme Court stresses that the
   scope of post-judgment discovery is “quite permissive.” Republic of Argentina v. NML
   Capital, Ltd., 573 U.S. 134, 138 (2014). “Even though Rule 69 discovery may resemble
   the proverbial fishing expedition, a judgment creditor is entitled to fish for assets of the
   judgment debtor.” Textron Fin. Corp. v. Gallegos, 2016 U.S. Dist. LEXIS 100407, at *8,
   2016 WL 4077505, at *3 (S.D. Cal. Aug. 1, 2016) (citation omitted). Indeed, “[a]
   judgment creditor must be given the freedom to make a broad inquiry to discover hidden
   or concealed assets of the judgment debtor.” Sequoia Prop. & Equip. Ltd. P’ship v.

          3
            On July 16, 2021, Letcavage served supplemental responses to 3 of the 24 Requests. (Dkt. 249-
   1 at 9–11.) On August 5, 2021, Letcavage served additional supplemental responses to the Requests and
   produced a “small handful” of documents. (Id. at 15–29; Dkt. 250 at 4.)
          4
              On March 26, 2021, the Court granted former counsel’s request to withdraw from representing
   Defendants. (Dkt. 235.) On June 3, 2021, attorney Phillip G. Trad entered an appearance on behalf of
   Letcavage. (Dkt. 245.) As of the date of this Order, Premier has not retained new counsel. A copy of
   Plaintiff’s Motion and Reply were served on Premier’s current CEO. (Dkt. 247-2 at 17; Dkt. 250 at 12.)
Case 8:18-cv-00813-CJC-KES Document 256 Filed 09/07/21 Page 3 of 9 Page ID #:12334
                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES – GENERAL

    Case No. 8:18-cv-00813 CJC (KES)                                      Date: September 7, 2021
                                                                                           Page 3

   United States, No. CV-F-97-5044, 2002 WL 32388132, at *3, 2002 U.S. Dist. LEXIS
   15872, at *9 (E.D. Cal. June 3, 2002); see United States v. Feldman, 324 F. Supp. 2d
   1112, 1116 (C.D. Cal. 2004) (“Debtor examinations are intended to allow the judgment
   creditor a wide scope of inquiry concerning property and business affairs of the judgment
   debtor and to leave no stone unturned in the search for assets which might be used to
   satisfy the judgment.”) (citations omitted).

           Rule 69 permits the judgment creditor to use any discovery device allowed by the
   federal rules. Fed. R. Civ. P. 69 advisory committee’s note (1970). In applying these
   rules, district courts have broad discretion to control the timing, sequence, and methods
   of discovery. Hallett v. Morgan, 296 F.3d 732, 751 (9th Cir. 2002).

   III.   Discussion.

          Letcavage asserts that he has “fully complied” with the discovery requests.
   (Response at 3.) However, he has produced only “eleven account statements from 2020–
   2021[ ] from one bank,” which contain multiple redactions. (Dkt. 250 at 5; Dkt. 250-1
   [“Ellenbogen August Decl.”] ¶¶ 6–7 & Ex. A.) Further, Letcavage’s supplemental
   discovery responses include multiple objections without clearly indicating whether any
   responsive information is being withheld on account of those objections. See Fed. R.
   Civ. P. 34(b)(2)(C) (“An objection must state whether any responsive materials are being
   withheld on the basis of that objection.”).

           In response to the Requests, Defendants objected on the multiple grounds,
   including: (1) unduly burdensome, (2) lack of resources to comply, (3) need to confer
   with counsel, (4) need additional time to comply, (5) overly broad, (6) confidential third-
   party information, (7) violates the Fourth Amendment, California State Constitution, and
   Right to Privacy Act of 1978, and (8) lack of confidentiality agreement. (Ellenbogen
   Decl. Exs. 9–10; Dkt. 249-1 at 9–29.) The Court addresses each objection in turn.

          A.      Relevance.

          The Court finds that the Requests properly seek to discover assets that might be
   available to satisfy the judgments and to discover concealed or fraudulently transferred
   assets. While Defendants did not specifically object on relevancy grounds, at the hearing,
   Letcavage’s counsel indicated that in searching for responsive documents, his client
   determined what information was relevant, and that Mr. Letcavage viewed only recent
   bank statements as relevant. For purposes of discovery, however, “relevant information”
   may not be synonymous with a lay person’s understanding of the term. The Court
   expects Letcavage’s counsel to actively guide his client’s search for responsive
Case 8:18-cv-00813-CJC-KES Document 256 Filed 09/07/21 Page 4 of 9 Page ID #:12335
                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES – GENERAL

    Case No. 8:18-cv-00813 CJC (KES)                                     Date: September 7, 2021
                                                                                          Page 4

   information. Here, records dating back to the alleged beginning of the fraud relevant to
   tracing the current location of fraudulently obtained funds.

          B.      Overly Broad, Unduly Burdensome, and Lack of Time and Resources.

           Defendants vaguely contend that each Request is overly broad and unduly
   burdensome. They also assert a lack of time and resources. However, “boilerplate
   objections do not suffice and there is no ground upon which to reasonably argue
   otherwise.” Marti v. Baires, No. 08-CV-00653, 2012 WL 2029720, at *5, 2012 U.S.
   Dist. LEXIS 77962, at *14 (E.D. Cal. June 5, 2012); see Fed. R. Civ. P. 34(b)(2)(B) (“For
   each item or category, the response must either state that inspection … will be permitted
   as requested or state with specificity the grounds for objecting to the request, including
   the reasons.”) (emphasis added); Davis v. Fendler, 650 F.2d 1154, 1160 (9th Cir. 1981)
   (“objections should be plain enough and specific enough so that the court can understand
   in what way the [discovery requests] are alleged to be objectionable”) (emphasis added).
   Moreover, Defendants have not met their burden “to demonstrate that production of
   nonprivileged, responsive documents during this period would be disproportionately
   burdensome.” City of Seattle v. ZyLAB N. Am., LLC, No. C17-0790, 2017 WL
   4418636, at *3 (W.D. Wash. Oct. 5, 2017); see N. Am. Co. for Life & Health Ins. v.
   Philpot, No. 08 CV 270, 2009 WL 10672468, at *4 & n.2 (S.D. Cal. June 1, 2009)
   (overruling party’s discovery objections because it did not quantify its asserted burden to
   producing the requested information). “It is well-established that the burden is on the
   objecting party to show grounds for failing to provide the requested discovery.”
   Baykeeper v. Kramer Metals, Inc., No. CV 07-3849 DDP (FMOx), 2009 WL 10671577,
   at *7, 2009 U.S. Dist. LEXIS 136154, at *16–17 (C.D. Cal. Feb. 27, 2009); see Bible v.
   Rio Properties, Inc., 246 F.R.D. 614, 618 (C.D. Cal. 2007); Sullivan v. Prudential Ins.
   Co., 233 F.R.D. 573, 575 (C.D. Cal. 2005). Defendants cannot simply invoke
   generalized objections without describing, in specific detail, how each Request is overly
   broad and unduly burdensome by submitting affidavits or other evidence describing the
   nature of the burden. See Roesberg v. Johns-Manville Corp., 85 F.R.D. 292, 296–97
   (E.D. Pa. 1980) (The responding party “must show specifically how, despite the broad
   and liberal construction afforded the federal discovery rules, each interrogatory is not
   relevant or how each question is overly broad, burdensome or oppressive by submitting
   affidavits or offering evidence revealing the nature of the burden.”).

          Here, Defendants have neither explained how each Request is overly broad or
   unduly burdensome nor provided any evidence describing the nature of the burden.
   Defendants contend that the scope of the Requests should be “limited to January 1, 2017,
   to the Present.” (E.g., Dkt. 247-12 at 6.) While generally post-judgment discovery is
   limited to determining the judgment debtor’s current assets, here the fraudulent scheme
Case 8:18-cv-00813-CJC-KES Document 256 Filed 09/07/21 Page 5 of 9 Page ID #:12336
                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA

                                        CIVIL MINUTES – GENERAL

    Case No. 8:18-cv-00813 CJC (KES)                                                 Date: September 7, 2021
                                                                                                      Page 5

   alleged in the Complaint began in December 2012. (Complaint ¶ 36.) Thus, the
   Commission is entitled to “determine what Defendants did with the funds they raised and
   then stole from the investors [along with] what assets they currently have.” (Dkt. 250 at
   6.) Similarly, Defendants have not provided any support for their contention that they
   lack the time and resources to confer with counsel and respond timely to the Requests.5

          For these reasons, Defendants’ overly broad, unduly burdensome, and lack of time
   and resources objections are OVERRULED.

           C.      Confidential Third-Party Financial Information.

           Defendants vaguely contend that the Requests seek “third party confidential
   financial information.” (Ellenbogen Decl. ¶ 14.) After the Commission sought support
   for this asserted privilege, Defendants apparently agreed to produce subject to a
   confidentiality protective order. (Id. ¶¶ 15–16.) The Commission provided Defendants
   with a sample confidentiality order on March 15, 2021, but Defendants did not respond.
   (Dkt. 250-1 [“Ellenbogen August Decl.”] ¶ 15.) For the “handful” of documents
   produced by Letcavage, all contain redactions pursuant to an asserted “confidential third-
   party financial information” privilege. (Id. ¶¶ 6, 7, 10, 15, 16.)

           Defendants do not provide—and the Court does not find—any support for their
   asserted “confidential third-party financial information” privilege under federal discovery
   rules. Discovery in post-judgment proceedings is not limited to seeking information from
   the judgment debtor, and the judgment creditor can obtain discovery from both parties
   and nonparties. VFS Fin., Inc. v. Specialty Fin. Corp., 2013 U.S. Dist. LEXIS 49172, at
   *11–12, 2013 WL 1413024, at *4 (D. Nev. Apr. 4, 2013). And once judgment has been
   entered against a defendant, the “desire for confidentiality must necessarily yield to a
   plaintiff’s legitimate need to acquire any and all information reasonably available to
   locate the defendant’s assets.” A&F Bahamas, LLC v. World Venture Grp., Inc., No. CV
   17-8523 VAP (SS), 2018 WL 5961297, at *8, 2018 U.S. Dist. LEXIS 224399, at *21
   (C.D. Cal. Oct. 19, 2018) (citation omitted).

          Furthermore, any legitimate confidentiality concerns can be remedied with a
   protective order. See A&F Bahamas, LLC v. World Venture Grp., Inc., No. CV 17-8523
   VAP (SS), 2018 WL 5961297, at *8, 2018 U.S. Dist. LEXIS 224399, at *20 (C.D. Cal.
   Oct. 19, 2018). At the hearing, the parties agreed to work in good faith to draft a

           5
            The Commission previously agreed to a rolling production of responsive information.
   (Ellenbogen Decl. ¶ 13 & n.7.) While counsel has a “serious medical condition” (Dkt. 249 at 2), at the
   hearing he did not anticipate any significant delays with responding to the current discovery requests.
Case 8:18-cv-00813-CJC-KES Document 256 Filed 09/07/21 Page 6 of 9 Page ID #:12337
                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES – GENERAL

    Case No. 8:18-cv-00813 CJC (KES)                                    Date: September 7, 2021
                                                                                         Page 6

   stipulated confidentiality protective order. Letcavage’s counsel generally agreed that a
   protective order would satisfy his confidentiality concerns. For these reasons,
   Defendants’ confidential third-party financial information objections are OVERRULED.

          On September 2, 2021, the Court entered the parties’ agreed confidentiality
   protective order. (Dkt. 255). While Defendants may produce appropriate documents
   subject to the protective order, they shall produce unredacted versions of the documents
   previously redacted on the basis of their privacy/confidentiality objections.

          D.      Fourth Amendment, California State Constitution, and Right to
                  Privacy Act.

          Defendants vaguely object that the Requests “are in violation of the Fourth
   Amendment of the U.S. Constitution, the California State Constitution, and the Right to
   Privacy Act of 1978.” (E.g., Dkt. 247-12 at 4; Dkt. 247-13 at 4; see Ellenbogen August
   Decl. ¶ 17.) But Defendants provide no case law or other support for these objections.
   (See generally Dkt. 249 at 3–4.) Nor does the Court find any legal support for these
   arguments.

         For these reasons, Defendants’ Fourth Amendment, California State Constitution,
   and Right to Privacy Act objections are OVERRULED.

          E.      Tax Returns.

           Defendants contend that their tax returns are “privileged and not subject to
   production.” (Dkt. 249-1 at 15; see Dkt. 247-12 at 3–4.) While California recognizes a
   qualified tax return privilege, in post-judgment discovery proceedings to enforce the
   judgment of a federal court, federal common law regarding privileges applies. Internet
   Direct Response, Inc. v. Buckley, No. SACV09-01335ABCMLGX, 2010 WL 1752181,
   at *5, 2010 U.S. Dist. LEXIS 50576, at *14 (C.D. Cal. Apr. 29, 2010). Federal common
   law is especially appropriate where, as here, the underlying case involved only federal
   questions. See Heathman v. U.S. Dist. Ct. for Cent. Dist. of California, 503 F.2d 1032,
   1034 (9th Cir. 1974) (“We hold that the question of the existence and scope of the
   taxpayer’s privilege, if any, to withhold tax return information is to be determined by
   federal law for the purposes of this federal question case.”). The Ninth Circuit has
   “explicitly rejected a federal privilege for tax returns.” In re Com. Money Ctr., No.
   ADV. 04-90191-H7, 2006 WL 6589751, at *6, 2006 U.S. Bankr. LEXIS 4708, at *18–19
   (Bankr. S.D. Cal. June 29, 2006) (citing Heathman); see Young v. United States, 149
   F.R.D. 199, 201 (S.D. Cal. 1993) (“Under federal law, tax returns are generally
   discoverable where necessary in private civil litigation.”). “Thus in the post-
Case 8:18-cv-00813-CJC-KES Document 256 Filed 09/07/21 Page 7 of 9 Page ID #:12338
                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES – GENERAL

    Case No. 8:18-cv-00813 CJC (KES)                                     Date: September 7, 2021
                                                                                          Page 7

   judgment contexts, courts have readily required production of tax returns with no
   showing of compelling need, or with a showing that the judgment debtor has produced
   only limited documents related to his assets.” A&F Bahamas, 2018 WL 5961297, at *8,
   2018 U.S. Dist. LEXIS 224399, at *21 (citation omitted) (collecting cases).

          The Court finds that Defendants’ tax returns are necessary to identify assets that
   might be available to satisfy the judgments and to discover concealed or fraudulently
   transferred assets. Any legitimate confidentiality or privacy concerns can be remedied by
   producing the tax returns subject to the confidentiality protective order. Any objections
   to producing Defendants’ tax returns are OVERRULED.

          F.      Premier Holding Corp.

         The Court deems Premier’s failure to oppose Plaintiff’s motion to compel as its
   consent to granting the motion. Local Rule 7-12.

          G.      Responsive Information.

           At the hearing, Letcavage’s counsel indicated that Letcavage has no documents in
   his possession, custody, or control which are responsive to Requests 7–8 and 10–24. The
   Court finds this assertion not plausible. For example, Request Nos. 8 seeks documents
   related to Letcavage’s “business affiliation(s) with any entity during the Relevant
   Period.” Given Letcavage’s former affiliation with Premier, Letcavage should at least
   have information related to that affiliation. Similarly, the Court finds it difficult to
   believe that Letcavage has no documents related to interests in real property held during
   the relevant period (Request No. 12), no personal property valued at over $5,000
   (Request No. 13), no equity stake in any equity (Request No. 14), no transfer of money or
   property valued at $5,000 or more during the relevant period (Request No. 18), and no
   cash withdrawals of more than $1,000 during the relevant period (Request No. 20).

          Request No. 17 seeks documents sufficient to show the owner of Letcavage’s
   residence and any changes thereto in the last 5 years. Letcavage’s assertion that “he does
   not own his residence and has not owned a residence for the past 5 years” is not
   responsive. The Commission is entitled to discover who does own Letcavage’s residence
   to ascertain whether asserts have been fraudulently concealed or transferred.

          In supplementing his responses, if Letcavage still contends he has no documents in
   his possession, custody, or control responsive to a Request, he shall execute a due
   diligence declaration describing where and how he looked for responsive documents and
   affirming that he either has or will produce all nonprivileged, responsive documents. See
Case 8:18-cv-00813-CJC-KES Document 256 Filed 09/07/21 Page 8 of 9 Page ID #:12339
                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA

                                         CIVIL MINUTES – GENERAL

    Case No. 8:18-cv-00813 CJC (KES)                                                 Date: September 7, 2021
                                                                                                      Page 8

   Bryant v. Armstrong, 285 F.R.D. 596, 603 (S.D. Cal. 2012) (“The term ‘control’ is
   broadly construed, and it includes documents that the responding party has the legal right
   to obtain from third parties.”); Burnett v. United States, No. EDCV151707CASKKX,
   2016 WL 3392263, at *7 (C.D. Cal. June 14, 2016) (“To the extent there is any confusion
   regarding the meaning of ‘currently in Plaintiff’s possession, custody, or control,’ a
   document is currently in Plaintiff’s control if he has a legal right to obtain it from third
   parties.”). At a minimum, Letcavage shall describe what efforts he took to retrieve
   responsive information from Premier.

   IV.    Order.

          A.        Post-Judgment Document Production.

          As discussed above, all of Defendants’ objections to the Commission’s Post-
   Judgment Document Requests are OVERRULED. By no later than September 24,
   2021, each Defendant shall (1) serve supplemental responses to the Post-Judgment
   Document Requests, omitting all objections overruled, and truthfully stating that all
   responsive documents in its possession, custody, or control have been produced,6 will be
   produced by October 15, 2021, or that none exist;7 and (2) begin a rolling, unredacted
   production of all responsive nonprivileged documents to be completed by October 15,
   2021. If Defendants are withholding or redacting any responsive information based on an
   applicable attorney-client or work product privilege, they shall promptly produce a
   privilege log (1) identifying every responsive document withheld or redacted based on
   privilege, and (2) providing sufficient facts in the log to assess the validity of those
   privilege claims.

          B.        Accounting of Assets.

          By no later than September 24, 2021, each Defendant shall produce a detailed
   accounting of their assets that identifies during the period of January 1, 2012, to the
   present:

          (a)       the identity of every bank and brokerage account in which Premier or
                    Letcavage had an interest, either directly or indirectly;



          6
              Defendants shall identify the Bates numbers of all documents already produced.
          7
            As discussed above, Defendants shall execute a due diligence declaration describing where and
   how they looked for responsive documents.
Case 8:18-cv-00813-CJC-KES Document 256 Filed 09/07/21 Page 9 of 9 Page ID #:12340
                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES – GENERAL

    Case No. 8:18-cv-00813 CJC (KES)                                         Date: September 7, 2021
                                                                                              Page 9

          (b)     the transfer out of funds raised by Premier;

          (c)     the amount of funds paid by Premier, either directly or indirectly, to
                  Letcavage; and

          (d)     all assets held, directly or indirectly, by (i) Premier and (ii) Letcavage.

          C.      Premier Holding Corp.

          While Premier has not yet retained new counsel, it is expected to fully comply
   with this Order. Plaintiff shall serve a copy of this Order on Scott Dinsmoor, Premier’s
   CEO, and file a proof of service.



                                                                     Initials of Deputy Clerk JD
